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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

SADIE HACKLER, on behalf of herself                  ) Civil Action No. 5:18-CV-00911
and all others similarly situated

v.                                                  )

TOLTECA ENTERPRISES INC., DBA
THE PHOENIX RECOVERY GROUP                           )

              DEFENDANT’S ORIGINAL ANSWER AND MOTION TO DISMISS
                                CLASS ACTION

       Now comes the Defendant Tolteca Enterprises Inc., dba The Phoenix Recovery Group

(“PRG”) who files this answer to Plaintiff’s Complaint. A motion to dismiss class action is also

pleaded.

                                          I. Initial Answer

       1. ¶1 is admitted.

       2. ¶2 is admitted.

                                      II. Jurisdiction & Venue

       3. ¶3 jurisdiction is admitted subject to any motion to dimiss the class action because it is

not viable.

       4. ¶Venue in this district is admitted.

                                      III. Allegations of Fact

       5. ¶5 PRG has no information as to whether Plaintiff is in the USAF. Cannot admit or deny.

       6. ¶ PRG cannot admit or deny the allegation due to insufficient information. Any problems

with her rental premises are not relevant to any issue in this lawsuit.

       7. ¶PRG cannot admit or deny the allegation due to insufficient information.
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        8. ¶PRG cannot admit or deny a matter of opinion and the allegation is irrelevant.

        9. ¶9 PRG is not her landlord and has no first hand knowledge of the allegation made about

the condition of the home and the allegation is irrelevant to issues in this lawsuit. Cannot admit or

deny.

        10. ¶10 The allegation is for Plaintiff to prove and does not appear to be relevant to any issue

in this lawsuit. Furthermore, the allegation is an opinion of Plaintiff and her landlord may have a

different opinion. Unable to admit or deny due to insufficient information and the possibility that

Plaintiff’s allegation is without foundation or is an allegation that is false, untrue, or simply wrong.

                                     IV. Admissions & Denials

        11. ¶11 Admit. Plaintiff’s account was turned over to PRG for collection. On information

and belief, the debt appears to accurate, owed and legitimate.

        12. ¶12 PRG admits to sending Plaintiff the letter, which is exhibit 1.

        13. ¶13 PRG admits to sending the letter. Any imputation or implication that the letter

violates the law is denied.

        14. ¶14 is an abstract statement of the law and not an allegation of fact for which no

admission or denial is required..

        15. ¶15 is generally denied.

        16. ¶16 is generally denied.

        17. ¶17 does not require an admission or denial as it is a statement of position and a

proposition calling for a legal conclusion.

        18. ¶18 PRG denies violation of 15 USC 1692g, 1692e(2)(A) and 1692e(10).

        19. ¶19 PRG denies the allegation and denies any FDCPA violation.

        20. ¶20 PRG denies violation of 1692g(a)(1), 1962e(2)(A) and 1692e(10).
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       21. ¶21 is denied. A class action is denied.

       22. ¶22 a class action is denied and the underlying Complaint is denied.

       23, ¶23 PRG is unable to admit or deny whether identities of class members are readily

ascertainable from its records. PRG would be seeking a protective order and that any investigation

of such records be subject thereto and that Plaintiff bear all expenses of any such inquiry as it would

likely cost thousands of dollars.

       24. ¶24 PRG denies this is class worthy, class efficient, class redressable, or class viable as

more fully alleged herein.

       25. ¶25 PRG denies that certification of a class would be proper, viable or superior.

       26. ¶26 PRG denies class action is proper, viable or superior. PRG would request a

protective order requiring Plaingiff to pay the unduly burdensome cost of discovery and to protect

its financial information from improper disclosure.

       27. ¶27 PRG admits to being a debt collector.

       28. ¶28 PRG admits there is a debt.

       29. ¶29 PRG admits the Plaintiff is a consumer.

       30. ¶30 PRG did notify Plaintiff of her dispute rights. PRG denies any FDCPA violation.

       31. ¶31 PRG denies any inaccurate statement of the debt.

       32, ¶32 is denied.

       33. ¶33 it is doubtful this a jury matter. This case appearss to be a question of law only.

       34. Plaintiff’s prayer for relief is denied. Plaintiff should take nothing and this case should

be dismissed with prejudice. The class action should not be certified and should be dismissed.

                  V. Affirmative Defenses and Motion to Dismiss Class Action

       35. As an affirmative defense PRG alleges the one year FDCPA Statute of Limitations on
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all claims.

           36. As an affirmative defense, PRG pleads the limitation of liability cap in a class action.

15 U.S.C. §1692(a)(2)(B) limits this Defendant’s liability in a class action to “ the lesser of $500,000

or 1% of the net worth of the debt collector”. PRG would show that it has a negative or minimal net

worth. Therefore, no meaningful recovery of a monetary amount will occur to any class member.

Any relief herein would be meaningless and trivial. PRG would allege that a class recovery would

be -0- (zero) to a mere $500. Accordingly, a class action will not be a superior method for a fair

and efficient adjudication of the claims presented in this lawsuit and a class action will not be a

meaningful vehicle for the redress of any injury to anyone.        Therefore, no class is viable; no class

should be certified; any class action would be a waste of time, resources and court time; and the class

action should be dismissed with prejudice. If the net worth is either in the negative; or, it is less than

$50,000 and 1% thereof is a mere $500. The net worth may even be less. Consequently, no class

will achieve any meaningful redress or compensation. The expenses will far outweigh any benefit.

The class action should be dismissed under FRCP Rule 12 as no claim for relief is reasonably viable

or achievable.

           37. As an affirmative defense, PRG says there was a bona fide error. If its letter was deficient

that was a bona fide error.

           38. As an affirmative defense any statutory damages are up to $1000 as the court finds

appropriate. The statutory damages can range from -0- to $1000, per action.

           38. As an affirmative defense, PRG alleges that Plaintiff sustained no actual damages.

           WHEREFORE, Plalintiff should take nothing and this case should be dismissed. All costs

should be imposed on Plaintiff. No class exists or is viabe. PRG pleads for such other relief as may

be just.
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                                CERTIFICATE OF SERVICE

        I certify that on October 29, 2018, this pleading was e-filed through the ECF/CM electronic
filing system which will give electronic notice to Benjamin Bingham, Attorney for Plaintiff,

                                                     S/Tom Clarke
